In re Delphi Corporation, et al.
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Case No. 05-44481 (RDD)
 EXHIBIT F-8 - ADJOURNED MODIFIED CLAIMS ASSERTING RECLAMATION
CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                                                                CLAIM AS MODIFIED

Claim: 9120
                                                   Claim Holder Name and Address
Date Filed: 07/07/2006
Docketed Total:   $160,270.22                      AB AUTOMOTIVE ELECTRONICS                 Docketed Total:                 $120,000.22     AB AUTOMOTIVE ELECTRONICS        Modified Total:             $120,000.00
Filing Creditor Name and Address:                  LTD                                                                                       LTD
  AB AUTOMOTIVE ELECTRONICS                        ROBINSON BRADSHAW & HINSON                                                                ROBINSON BRADSHAW & HINSON
  LTD                                              PA                                                                                        PA
  ROBINSON BRADSHAW & HINSON                       101 N TRYON ST STE 1900                                                                   101 N TRYON ST STE 1900
  PA                                               CHARLOTTE, NC 28246                                                                       CHARLOTTE, NC 28246
  101 N TRYON ST STE 1900
  CHARLOTTE, NC 28246                             Case Number*                     Secured     Priority                  Unsecured           Case Number*         Secured           Priority          Unsecured
                                                  05-44640                                         $120,000.00                       $0.22   05-44640                                   $120,000.00               $0.00

                                                                                                   $120,000.00                       $0.22                                              $120,000.00               $0.00

                                                   Claim Holder Name and Address

                                                   TPG CREDIT OPPORTUNITIES FUND             Docketed Total:                  $40,270.00                                                                    $17,982.34
                                                                                                                                             TPG CREDIT OPPORTUNITIES FUND    Modified Total:
                                                   LP                                                                                        LP
                                                   C O TPG CREDIT MANAGEMENT LP                                                              C O TPG CREDIT MANAGEMENT LP
                                                   4600 WELLS FARGO CTR                                                                      4600 WELLS FARGO CTR
                                                   90 S SEVENTH ST                                                                           90 S SEVENTH ST
                                                   MINNEAPOLIS, MN 55402                                                                     MINNEAPOLIS, MN 55402


                                                  Case Number*                     Secured     Priority                  Unsecured
                                                                                                                                             Case Number*         Secured           Priority          Unsecured
                                                  05-44640                                                                    $40,270.00
                                                                                                                                             05-44640                                                      $17,982.34
                                                                                                                              $40,270.00
                                                                                                                                                                                                            $17,982.34

Claim: 12686
                                                   Claim Holder Name and Address
Date Filed: 07/28/2006
Docketed Total:   $2,466,373.54                    CONTRARIAN FUNDS LLC AS                   Docketed Total:               $2,466,373.54     CONTRARIAN FUNDS LLC AS          Modified Total:            $2,319,296.37
Filing Creditor Name and Address:                  ASSIGNEE OF INA USA                                                                       ASSIGNEE OF INA USA
  CONTRARIAN FUNDS LLC AS                          CORPORATION                                                                               CORPORATION
  ASSIGNEE OF INA USA                              ATTN ALPA JIMENEZ                                                                         ATTN ALPA JIMENEZ
  CORPORATION                                      411 WEST PUTNAM AVENUE STE                                                                411 WEST PUTNAM AVENUE STE
  ATTN ALPA JIMENEZ                                225                                                                                       225
  411 WEST PUTNAM AVENUE STE                       GREENWICH, CT 06830                                                                       GREENWICH, CT 06830
  225
  GREENWICH, CT 06830                             Case Number*                     Secured     Priority                  Unsecured           Case Number*         Secured           Priority          Unsecured
                                                  05-44640                                         $265,875.25             $2,200,498.29     05-44640                                   $265,875.25      $2,053,421.12

                                                                                                   $265,875.25             $2,200,498.29                                                $265,875.25      $2,053,421.12




*See Exhibit G for a listing of debtor entities by case number.
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*UNL stands for unliquidated
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Case No. 05-44481 (RDD)
 EXHIBIT F-8 - ADJOURNED MODIFIED CLAIMS ASSERTING RECLAMATION
CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                                                              CLAIM AS MODIFIED

Claim: 416
              11/07/2005                           Claim Holder Name and Address
Date Filed:
Docketed Total:     $5,415,329.84                  HITACHI CHEMICAL SINGAPORE                Docketed Total:               $5,415,329.84   HITACHI CHEMICAL SINGAPORE           Modified Total:            $5,415,329.84
Filing Creditor Name and Address:                  PTE LTD FKA HITACHI CHEMICAL                                                            PTE LTD FKA HITACHI CHEMICAL
  HITACHI CHEMICAL SINGAPORE                       ASIA PACIFIC PTE LTD                                                                    ASIA PACIFIC PTE LTD
  PTE LTD FKA HITACHI                              CO MORGAN LEWIS & BOCKIUS LLP                                                           CO MORGAN LEWIS & BOCKIUS LLP
  CHEMICAL ASIA PACIFIC PTE                        101 PARK AVE                                                                            101 PARK AVE
  LTD                                              NEW YORK, NY 10178                                                                      NEW YORK, NY 10178
  ATTN MENACHEM O
  ZELMANOVITZ ESQ                                 Case Number*                     Secured     Priority                  Unsecured         Case Number*             Secured           Priority          Unsecured
  101 PARK AVE                                    05-44481                                       $2,110,565.18             $3,304,764.66   05-44640                                       $219,986.79      $5,195,343.05
  NEW YORK, NY 10178
                                                                                                 $2,110,565.18             $3,304,764.66                                                  $219,986.79      $5,195,343.05

Claim: 9993
                                                   Claim Holder Name and Address
Date Filed: 07/20/2006
Docketed Total:   $1,094,656.41                    DEUTSCHE BANK SECURITIES INC              Docketed Total:                 $928,226.61   DEUTSCHE BANK SECURITIES INC         Modified Total:             $878,312.62
Filing Creditor Name and Address:                  60 WALL ST 3RD FL                                                                       60 WALL ST 3RD FL
  OSRAM SYLVANIA INC                               NEW YORK, NY 10005                                                                      NEW YORK, NY 10005
  100 ENDICOTT ST
  DANVERS, MA 01923-3623                          Case Number*                     Secured     Priority                  Unsecured         Case Number*             Secured           Priority          Unsecured
                                                  05-44640                                                                   $928,226.61   05-44640                                        $57,468.93       $820,843.69

                                                                                                                             $928,226.61                                                   $57,468.93       $820,843.69

                                                   Claim Holder Name and Address

                                                   SPCP GROUP LLC                            Docketed Total:                 $166,429.80                                                                    $157,480.29
                                                                                                                                           SPCP GROUP LLC                       Modified Total:
                                                   2 GREENWICH PLZ 1ST FL                                                                  2 GREENWICH PLZ 1ST FL
                                                   GREENWICH, CT 06830                                                                     GREENWICH, CT 06830


                                                  Case Number*                     Secured     Priority                  Unsecured
                                                                                                                                           Case Number*             Secured           Priority          Unsecured
                                                  05-44640                                                                   $166,429.80
                                                                                                                                           05-44640                                                         $157,480.29
                                                                                                                             $166,429.80
                                                                                                                                                                                                            $157,480.29




*See Exhibit G for a listing of debtor entities by case number.
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*UNL stands for unliquidated
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Case No. 05-44481 (RDD)
 EXHIBIT F-8 - ADJOURNED MODIFIED CLAIMS ASSERTING RECLAMATION
CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                                                              CLAIM AS MODIFIED

Claim: 16479
                                                   Claim Holder Name and Address
Date Filed: 01/11/2007
Docketed Total:   $561,083.00                      CONTRARIAN FUNDS LLC                      Docketed Total:                 $561,083.00   CONTRARIAN FUNDS LLC                 Modified Total:             $561,083.00
Filing Creditor Name and Address:                  411 W PUTNAM AVE S 225                                                                  411 W PUTNAM AVE S 225
  SENSUS PRECISION DIE CASTING                     GREENWICH, CT 06830                                                                     GREENWICH, CT 06830
  INC
  PO BOX 11587                                    Case Number*                     Secured     Priority                  Unsecured         Case Number*             Secured           Priority          Unsecured
  RICHMOND, VA 15871                              05-44640                                                                   $561,083.00   05-44640                                       $101,745.58       $459,337.42

                                                                                                                             $561,083.00                                                 $101,745.58        $459,337.42

Claim: 2713
                                                   Claim Holder Name and Address
Date Filed: 04/24/2006
Docketed Total:   $6,253,576.29                    BEAR STEARNS INVESTMENT                   Docketed Total:               $6,253,576.29   BEAR STEARNS INVESTMENT              Modified Total:            $6,253,576.29
Filing Creditor Name and Address:                  PRODUCTS INC                                                                            PRODUCTS INC
  TEXAS INSTRUMENTS                                383 MADISON AVE                                                                         383 MADISON AVE
  INCORPORATED AND TEXAS                           NEW YORK, NY 10179                                                                      NEW YORK, NY 10179
  INSTRUMENTS INCORPORATED
  S&C                                             Case Number*                     Secured     Priority                  Unsecured         Case Number*             Secured           Priority          Unsecured
  MUNSCH HARDT KOPF & HARR                        05-44640                                                                 $6,253,576.29   05-44640                                        $64,270.14      $6,189,306.15
  PC
  3800 LINCOLN PLZ                                                                                                         $6,253,576.29                                                  $64,270.14       $6,189,306.15
  500 N AKARD ST
  DALLAS, TX 75201-6659




*See Exhibit G for a listing of debtor entities by case number.
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*UNL stands for unliquidated
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Case No. 05-44481 (RDD)
 EXHIBIT F-8 - ADJOURNED MODIFIED CLAIMS ASSERTING RECLAMATION
CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                                                                     CLAIM AS MODIFIED

Claim: 9037
                                                   Claim Holder Name and Address
Date Filed: 07/05/2006
Docketed Total:   $1,676,212.31                    TPG CREDIT OPPORTUNITIES FUND                    Docketed Total:                 $920,461.40   TPG CREDIT OPPORTUNITIES FUND        Modified Total:                      $0.00
Filing Creditor Name and Address:                  LP                                                                                             LP
  TT ELECTRONICS OPTEK                             C O TPG CREDIT MANAGEMENT LP                                                                   C O TPG CREDIT MANAGEMENT LP
  TECHNOLOGY                                       4600 WELLS FARGO CTR                                                                           4600 WELLS FARGO CTR
  ROBINSON BRADSHAW & HINSON                       90 S SEVENTH ST                                                                                90 S SEVENTH ST
  PA                                               MINNEAPOLIS, MN 55402                                                                          MINNEAPOLIS, MN 55402
  101 N TRYON ST STE 1900
  CHARLOTTE, NC 28246                             Case Number*                     Secured            Priority                  Unsecured         Case Number*          Secured              Priority           Unsecured
                                                  05-44640                                                                          $920,461.40   05-44640                                                                  $0.00

                                                                                                                                    $920,461.40                                                                             $0.00

                                                   Claim Holder Name and Address

                                                   TT ELECTRONICS OPTEK                             Docketed Total:                 $755,750.91                                                                     $157,945.50
                                                                                                                                                  TT ELECTRONICS OPTEK                 Modified Total:
                                                   TECHNOLOGY                                                                                     TECHNOLOGY
                                                   ROBINSON BRADSHAW & HINSON P                                                                   ROBINSON BRADSHAW & HINSON P
                                                   A                                                                                              A
                                                   101 N TRYON ST STE 1900                                                                        101 N TRYON ST STE 1900
                                                   CHARLOTTE, NC 28246                                                                            CHARLOTTE, NC 28246


                                                  Case Number*                     Secured            Priority                  Unsecured
                                                                                                                                                  Case Number*          Secured              Priority           Unsecured
                                                  05-44640                                                 $21,833.87               $733,917.04
                                                                                                                                                  05-44640                                          $5,458.47       $152,487.03
                                                                                                           $21,833.87               $733,917.04
                                                                                                                                                                                                   $5,458.47        $152,487.03

Claim: 13572
                                                   Claim Holder Name and Address
Date Filed: 07/25/2006
Docketed Total:   $46,538.80                       UNITED PLASTICS GROUP INC                        Docketed Total:                  $46,538.80   UNITED PLASTICS GROUP INC            Modified Total:               $43,513.29
Filing Creditor Name and Address:                  UNITED PLASTICS GROUP INC                                                                      UNITED PLASTICS GROUP INC
  UNITED PLASTICS GROUP INC                        1420 KENSINGTON RD STE 209                                                                     1420 KENSINGTON RD STE 209
  UNITED PLASTICS GROUP INC                        OAK BROOK, IL 60523                                                                            OAK BROOK, IL 60523
  1420 KENSINGTON RD STE 209
  OAK BROOK, IL 60523                             Case Number*                     Secured            Priority                  Unsecured         Case Number*          Secured              Priority           Unsecured
                                                  05-44640                             $46,538.80                                                 05-44640                                          $2,010.69        $41,502.60

                                                                                       $46,538.80                                                                                                  $2,010.69         $41,502.60




*See Exhibit G for a listing of debtor entities by case number.
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Case No. 05-44481 (RDD)
 EXHIBIT F-8 - ADJOURNED MODIFIED CLAIMS ASSERTING RECLAMATION
CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                                                              CLAIM AS MODIFIED

Claim: 11640
                                                   Claim Holder Name and Address
Date Filed: 07/27/2006
Docketed Total:   $10,208,032.27                   VICTORY PACKAGING LP                      Docketed Total:              $10,208,032.27   VICTORY PACKAGING LP                  Modified Total:           $4,183,936.11
Filing Creditor Name and Address:                  VICTORY PACKAGING LLP                                                                   VICTORY PACKAGING LLP
  VICTORY PACKAGING LP                             3555 TIMMONS LAND STE 1440                                                              3555 TIMMONS LAND STE 1440
  VICTORY PACKAGING LLP                            HOUSTON, TX 77027                                                                       HOUSTON, TX 77027
  3555 TIMMONS LAND STE 1440
  HOUSTON, TX 77027                               Case Number*                     Secured     Priority                  Unsecured         Case Number*          Secured              Priority          Unsecured
                                                  05-44481                                         $658,509.45             $9,549,522.82   05-44640                                       $658,509.45      $3,525,426.66

                                                                                                   $658,509.45             $9,549,522.82                                                  $658,509.45      $3,525,426.66


                                                                                                                                                Total Claims to be Modified: 9
                                                                                                                                                Total Amount as Docketed:         $27,882,072.68
                                                                                                                                                Total Amount as Modified:         $20,108,455.65




*See Exhibit G for a listing of debtor entities by case number.
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*UNL stands for unliquidated
